92 F.3d 1181
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Bartholomew ROBINSON, Plaintiff--Appellant,v.COMMONWEALTH OF VIRGINIA;  Executive Head;  George Allen,Governor;  Ronald Angelone, Director of Virginia Departmentof Corrections;  R.A. Young, Region Administrator, WesternDistrict of Virginia Department of Corrections;  GeorgeDeeds, Warden of Keen Mountain Correctional Center,Defendants--Appellees.
    No. 96-6387.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 23, 1996Decided:  August 5, 1996
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-96-212)
      Bartholomew Robinson, Appellant Pro Se.
      W.D.Va.
      AFFIRMED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Robinson v. Virginia, No. CA-96-212 (W.D.Va. Mar. 6, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    